IN THE COURT OF COMMON PLEAS

STATE OF O10 )

) S88:
COUNTY OF MAHONING yo

ne a EE |

DIRECT PRESENTMENT —

}
)
STATE OF OHIO ) JUDGE
) CASE NO. 16 cR Aue
PLAINTIFF )
) INDICTMENT FoR
| VS, } COUNT ONE
1S ) OBSTRUCTING JUSTICE
au’ KALILO ROBINSON ) R.C.292] 32(ANSKC\4) B3
i D.O.B. 1-3]-97 ) COUNT TWo
S.8.#000-00-730] ) OBSTRUCTING JUSTICE
3 ahoning County Justice Center or ) RC.2921 32 AYa(C\(4) P-3
PEM 361 E. Lucius ) COUNT THRER
Yr, | Youngstown, Ohio ) TAMPERING WITH EVIDENCE
sY | ) RC2921.12Ay] \(B)F-3
“ DEFENDANT )

and present that on OF about April 5 » 2016, at Mahoning County, do find that KALITG
ROBINSON did with PurpOSE to hinder the discovery, apprehension, Prosecution, Conviction or
punishment of another for a crime, or to assist another to benefit trom the Commission of a

EXHIBIT

! Case: 4:16-cv-03011-BYP Doc #14 Filed: 12/16/16 2 of 2. PagelD #: 36

JESSICA BRIDGES
DEPUTY FOREMAN
ARRAIGNMENT DATE:
fine APR 19, 2016 @ 9:00 AM 04/07/16: THIS IS A TRUE sor
CE DURKIN OF THE ORIGINAL INDICT.
FILED IN CASE # 16CR_392
ANTHONY VIVO, CLERK OF
__ COURTS BY: / VOGEL
He

